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                            IN THE UNITED STATES DISTRICT COURT                                -FEB 02 2018
                             FOR THE EASTER DISTRICT OF TEXAS
                                      SHERMAN DIVISION                                     Cler , U.S. District Court
                                                       §                                        Texas Eastern
DAVID E. MACK                                          §
            Plaintiff,
                                                               Case No. 4:18-cv-00006-ALM-CAN
vs


EXPERIAN INFORMATION
SOLUTIONS, INC. ET AL
            Defendants.                                §
                                                       §

      PLAINTIFF S MOTION TO STRIKE DEFENDANT EXPERIAN INFORMATION
  SOLUTIONS, INC.’S AFFIRMATIVE DEFENSES AND MEMORANDUM IN SUPPORT


            Plaintiff hereby moves this Court pursuant to F.R.C.P. 12(f) to strike Defendant

Experian Information Solutions, Inc. s (Experian) Affirmative Defenses numbered 3 thru 10 on the

grounds that they are insufficient as they fail to state legal or factual defenses.



                                              MEMORANDUM

            Plaintiff filed this lawsuit on January 3, 2018. On January 25, 2018 Defendant Experian

filed an Answer and Affirmative Defenses to Plaintiffs Original Complaint.

                                        STANDARD OF REVIEW

     Rule 12(f) provides that [t]he court may strike from a pleading an insufficient defense or any

redundant, immaterial, impertinent, or scandalous matter, upon a party’s motion or sua sponte. Fed.


R. Civ. P. 12(f). [BJecause striking a portion of a pleading is a drastic remedy, and because it often

is sought by the movant simply as a dilatory tactic, motions under Rule 12(f) are viewed with

disfavor and are infrequently granted. F.D.I.C. v. Niblo, 821 F. Supp. 441, 449 (N.D. Tex. 1993)

(Cummings, J.) The Rule applies to complaints as well as affirmative defenses. Woodfield v.




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Bowman, 193 F.3d 354, 362 (5th Cir. 1999). The pui ose of a motion to strike under Rule 12(f) is to

test the legal validity of a defense. The motion to strike should be granted only if the insufficiency

of the defense is clearly apparent. See Cipollone v. Liggett Group, Inc., 789 F.2d 181, 188 (3d Cir.

 1986). Therefore, to prevail on a motion to strike an insufficient defense, a plaintiff must show that

there is no issue of fact that might allow the defense to succeed, nor any substantial question ol law.

See EEOC v. Bay Ridge Toyota, I c., 327 F. Supp. 2d 167, 170 (E.D.N.Y. 2004).

                                   ANALYSIS AND ARGUMENT

            Third Defense. All claims against Ex erian are barred because all information

Experian communicated to any third person regarding Plaintiff was true. This is not a valid

affirmative defense and has no basis whatsoever in light of the claims made. Plaintiff clearly

states in his Complaint [Doc. 1 34] that his claim is based on Experian s failure to comply with

 15 U.S.C. § 1681g(a)(l) by not providing his full consumer file disclosure after multiple proper

and specific requests for it. Plaintiff makes no claims whatsoever about information that was

allegedly fu ished to any other parties. This defense has no merit or relevance to the claims

made and should be stricken.

            Fourth Defense. Experian is informed and believes and thereon alleges that any

purported damages allegedly suffered by Plaintiff are the results of the acts or omissions of third

persons over whom Experian had neither control nor responsibility. This is not a defense.


Defendant is only responsible for its own acts or omissions. This is nothing more than yet

another boilerplate affirmative defense with no basis in fact. Defendant has not identified any

third parties, or any of their employees, agents or principals that possibly could have been

involved when the request for Plaintiffs full consumer file disclosure was made directly to

Experian and through no other intermediary persons or entities as stated in the complaint.




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Plaintiff has made no claims against any parties other than Experian for its failure to provide his

full consumer file disclosure as requested pursuant to the FCRA and in fact it is apparent the e

could be no other parties involved. This affirmative defense is insufficient to meet the "fair

notice" standard under Woodfield as well and should therefore be stricken.

           Fifth Defense. Plaintiff has failed to mitigate his damages. Failure to mitigate is not

a defense to an award of statutory damages. This is not a valid affirmative defense given the

claims made and should be stricken because it has no basis in law or in any recognized legal

theory. Plaintiff in any case clearly articulated his efforts to mitigate damages when he sent his

second and final request for his full consumer file disclosure after E perian failed to properly

respond to his first request. [Doc. 1 -3] Plaintiff has the burden of demonstrating that he is

entitled to whatever damages the statute allows and this affirmative defense is a waste of toner.

           Sixth Defense. Each cause of action and claim for relief in the Complaint is barred

by laches. Defendant brings this defense in a conclusory manner with no attendant facts

whatsoever in support of its defense. Plaintiff brought his claims within 60 days of the actual

violation which occurred after his second request for his full consumer file disclosure was not

properly responded to which could by no stretch of the imagination be construed as an

unnecessary delay. A defense should be struck when it is clearly irrelevant and frivolous and

its removal from the case would avoid wasting unnecessary time and money litigating the

invalid defense. S.E.C. v. Elec. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), aff d,

 891 F.2d 457 (2d Cir. 1989). Furthermore, broad affirmative defenses such as waiver, estoppel,

or unclean hands may be stricken where these defenses are alleged in conclusory fashion

without any factual basis, thereby depriving plaintiff a fair notice of the grounds upon which the

 defense rests. See Qarbon.com, Inc. v. eHelp Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal.




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2004). This affirmative defense is insufficient to meet the "fair notice" standard under

Woodfie d as well and should be stricken.

            Seventh Defense. Experian is informed and believes and thereon alleges that any

alleged damages sustained by Plaintiff were, at least in part, caused by the actions of Plaintiff

himself and/or third parties and resulted from Plaintiffs or third parties own ne ligence that

equaled or exceeded any alle ed ne li ence or wrongdoin by Experian. Defendant brings yet

another conclusory defense before the court devoid of any facts to support it. On its face the

defense is frivolous in that the only parties involved in this action are obviously the Plaintiff and

Experian with the United States Postal Service (USPS) acting solely as courier in transporting

documents between the parties. The far-fetched contention that the Plaintiff was somehow

negligent in any manner by simply requesting what he is entitled to under the FCRA or the

USPS was negligent in delivering documents between the parties is an insult to the court and a

waste of its time. In addition this affirmative defense is insufficient to meet the "fair notice"

standard under Woodfield as well and should be stricken.

            Eighth Defense. Any dama es that Plaintiff may have suffered, which Experian

denies, were the direct and proximate result of the conduct of Plaintiff. Therefore. Plaintiff is

estopped and barred from recovery of any dama es. Defendant once again brings a defense in a

conclusory fashion and fails to elucidate any alleged conduct by Plaintiff that could possibly

under any conceivable set of circumstances have caused the damages suffered by him. A

defense should be struck when it is clearly i relevant and frivolous and its removal from the case

would avoid wasting unnecessary time and money litigating the invalid defense. S.E.C. v. Elec.

Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), aff d, 891 F.2d 457 (2d Cir. 1989).

Furthermore, broad affirmative defenses such as waiver, estoppel, or unclean hands may be




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stricken where these defenses are alleged in conclusory fashion without any factual basis,

thereby depriving plaintiff a fair notice of the grounds upon which the defense rests. See

Qarbon.com, Inc. v. eHelp Corp., 315 F. Supp. 2d 1046, 1049-50 (N.D. Cal. 2004). This

affirmative defense is insufficient to meet the "fair notice" standard under Woodfield as well and

should be stricken.

           Ninth Defense. All claims for relief in the Complaint are barred by the applicable

statutes of limitation, including but not limited to 15 U.S.C. § 168 Ip. This is nothing more than

yet another boilerplate affirmative defense with no basis or merit whatsoever. There is no

question that the claims made by Plaintiff were brought within the statute of limitations under

the FCRA which is 2 years from the date of discovery of the violation as pleaded by Plaintiff.

Plaintiff made two separate requests directly to Experian for his full consumer file disclosure

which were sent by certified mail in September and October 2017. [Doc. 1-2, 1-3] This action

was filed on January 3, 2018. All relevant events including the filing of this lawsuit occurred

within a mere 120 days, well within the 2 year statute of limitations as pleaded in the complaint.

Defendant advances no facts or legal basis for the court to conclude that the claims made should

be barred under the 2 year statute of limitations. When the defense is insufficient as a matter of

law, the defense should be stricken to eliminate the delay and unnecessary expense from

litigating the invalid claim. FDIC v. Eckert Seamans Cherin & Mellott, 754 F. Supp. 22, 23

(E.D.N.Y.1990); see also Metric Hosiery Co. v. Spartans Indus., Inc., 50 F.R.D. 50, 51-52


(S.D.N.Y.1970). Defendant s ninth defense is without merit and should be stricken.

           Tenth Defense. Each claim for relief in the Complaint that seeks equitable relief is

barred by the doctrine of unclean hands. Defendant brings this defense in a conclusory fashion

and presents no facts whatsoever in support of its contention. A defense should be struck when




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it is clearly irrelevant and frivolous and its removal from the case would avoid wasting

unnecessary time and money litigating the invalid defense. S.E.C. v. Elec. Warehouse, Inc., 689

F. Supp. 53, 73 (D. Conn. 1988), affd, 891 F.2d 457 (2d Cir. 1989). Furthermore, broad

affirmative defenses such as waiver, estoppel, or unclean hands may be stricken where these

defenses are alleged in conclusory fashion without any factual basis, thereby depriving plaintiff

a fair notice of the grounds upon which the defense rests. See Qarbon.com, I c. v. eHelp Corp.,


315 F. Supp. 2d 1046,1049-50 (N.D. Cal. 2004). This affirmative defense is insufficient to

meet the "fair notice" standard under Woodfield as well and should be stricken.




                                           CONCLUSION

   "A defense should be struck when it is clearly irrelevant and frivolous and its removal from the

case would avoid wasting unnecessary time and money litigating the invalid defense." S.E.C. v.


Elec. Warehouse, Inc., 689 F. Supp. 53, 73 (D. Conn. 1988), affd, 891 F.2d 457 (2d Cir. 1989).

           WHEREFORE, for the reasons stated above Plaintiff requests this Honorable Court

strike Defendant s Affirmative Defenses numbers 3 thru 10 and for any other relief this Court

deems just and proper.


                                                   T"
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                                     CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above document was sent to the parties
listed below by first class mail USPS.

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                                                   David E. Mack




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